                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                    KNOXVILLE DIVISION

 LEWIS COSBY, on behalf of himself     )
 and all others similarly situated,    )                      CLASS ACTION
                                       )
       Plaintiff,                      )
                                       )
 v.                                    )                      No. 3:16-cv-00121
                                       )
 DELOY MILLER, SCOTT M. BORUFF,        )                      JURY TRIAL DEMANDED
 PAUL W. BOYD, CHARLES M. STIVERS,     )
 DAVID M. HALL, MERRILL A. McPEAK,     )
 JONATHAN S. GROSS, DAVID J. VOYTICKY, )
 DON A. TURKLESON, GERALD HANNAHS, )
 MARCEAU N. SCHLUMBERGER, BOB G.       )
 GOWER, JOSEPH T. LEARY, WILLIAM B.    )
 RICHARDSON, CARL E. GIESLER, JR.,     )
 A. HAIG SHERMAN, and KPMG, LLP,       )
                                       )
       Defendants.                     )

 UNOPPOSED MOTION FOR EXTENSION OF TIME FOR DEFENDANT KPMG, LLP
   TO ANSWER, MOVE AGAINST, OR OTHERWISE RESPOND TO COMPLAINT

          Defendant KPMG, LLP (“KPMG”) moves this Court for an extension of time to answer,

 move against, or otherwise respond to Plaintiff’s Complaint. In support of this motion, KPMG

 states as follows:

          1.        KPMG was served with the summons and complaint March 31, 2016, making its

 answer, motion to dismiss, or other response to the Complaint due on April 21, 2016.

          2.        Once all parties are served, the parties may seek a comprehensive schedule for

 deadlines set forth under the Private Securities Litigation Reform Act (“PSLRA”), 15 U.S.C.

 § 78u-4(a)(3)(A)(i), including dates for filing motions for the appointment of lead plaintiff, for

 said lead counsel to retain counsel, and for an “operative” complaint to be filed consolidating

 lead plaintiff’s claims with the existing Complaint.




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          3.        Undersigned counsel has contacted Plaintiff’s counsel, Gordon Ball, to request an

 extension to June 1, 2016 to answer or otherwise respond to the Complaint, pending entry of any

 comprehensive scheduling order. Mr. Ball has stated that he does not oppose the request or this

 Motion.

          4.        This is KPMG’s first request for an extension of time to respond to Plaintiff’s

 Complaint.

          WHEREFORE, for the foregoing reasons, KPMG moves this Court to enter an Order

 extending the time for it to answer, move against, or otherwise respond to the Complaint to June

 1, 2016.

                                                 Respectfully submitted,

                                                 s/Paul S. Davidson
                                                 Paul S. Davidson (TN BPR # 011789)
                                                 Tera Rica Murdock (TN BPR #028153)
                                                 Katie H. Blankenship (TN BPR #033208)
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2016, a copy of the foregoing was filed electronically
 and served via the Court’s CM/ECF system on the following:

 Gordon Ball
 Gordon Ball PLLC
 Suite 600, 550 Main Street
 Knoxville, TN 37902

          And via first-class mail upon the following:

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                                                         s/ Paul S. Davidson
                                                         Paul S. Davidson




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